Charles
Case    M. Lizza
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William C. Baton
Sarah A. Sullivan
SAUL EWING LLP
One Riverfront Plaza, Suite 1520
Newark, New Jersey 07102-5426
(973) 286-6700
clizza@saul.com
wbaton@saul.com

Attorneys for Plaintiff
Corcept Therapeutics, Inc.

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY




 CORCEPT THERAPEUTICS, INC.,
                                                     Civil Action No. 21-5034 (EP)(LDW)
                        Plaintiff,

        v.                                           (Filed Electronically)
 HIKMA PHARMACEUTICALS USA
 INC.,

                        Defendant.




                                     CONSENT JUDGMENT

       Plaintiff Corcept Therapeutics, Inc. (“Corcept”) and Defendant Hikma Pharmaceuticals

USA Inc. (“Hikma”), the parties in the above-captioned action, hereby stipulate and consent to

entry of judgment and an injunction in this action as follows:

                   9th
       IT IS this _____day      December
                           of _________________, 2022:

       ORDERED, ADJUDGED, AND DECREED as follows:
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      1.     This Court has subject matter jurisdiction over this patent infringement action (the

“Action”) and has personal jurisdiction over the parties for purposes of this Action, including as

set forth below in Paragraph 5 of this Consent Judgment.

       2.      In this Action, Corcept has charged Hikma with infringement of certain claims of

United States Patent Nos. 10,195,214; 10,500,216; 10,842,800; and 10,842,801 (together, the

“Asserted Patents”) in connection with Hikma’s submission of Abbreviated New Drug

Application (“ANDA”) No. 215242, directed to a generic 300 mg mifepristone product indicated

to control hyperglycemia secondary to hypercortisolism in adult patients with endogenous

Cushing’s syndrome who have type 2 diabetes mellitus or glucose intolerance and have failed

surgery or are not candidates for surgery (hereinafter, “Hikma’s Generic Product”), to the U.S.

Food and Drug Administration (“FDA”).

       3.      Hikma has not rebutted the statutory presumption that the Asserted Patents are

valid and enforceable in this Action.

       4.      The submission of ANDA No. 215242 to the FDA for the purpose of obtaining

regulatory approval to engage in the commercial manufacture, use, and/or sale of Hikma’s

Generic Product within the United States of America, including its territories, possessions, and

the Commonwealth of Puerto Rico, before the expiration of the Asserted Patents was a technical

act of patent infringement with respect to one or more claims of each of the Asserted Patents.

       5.      Subject to the continued enforceability of this Consent Judgment, the commercial

manufacture, use, and/or sale of Hikma’s Generic Product within the United States of America,

including its territories, possessions, and the Commonwealth of Puerto Rico, before the expiration

of the Asserted Patents would infringe one or more claims of each of the Asserted Patents unless

and to the extent specifically authorized by Corcept.




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      6.     Until expiration of the Asserted Patents, including any extensions and pediatric

exclusivities, Hikma, including any of its successors and assigns, is enjoined from infringing the

Asserted Patents, on its own part or through any third party on its behalf, by making, having

made, using, selling, offering to sell, importing, or distributing Hikma’s Generic Product in or for

the United States of America, including its territories, possessions, and the Commonwealth of

Puerto Rico, unless and to the extent otherwise specifically authorized by Corcept.

       7.          Compliance with this Consent Judgment may be enforced by Corcept and its

respective successors in interest or assigns.

       8.          This Court retains jurisdiction over Corcept and Hikma for purposes of enforcing

this Consent Judgment.

       9.          All remaining claims, counterclaims, affirmative defenses, and demands in this

Action are hereby dismissed with prejudice and without costs, disbursements, or attorneys’ fees

to any party—except that Hikma’s counterclaims of invalidity or unenforceability (i.e., Counts II,

IV, VI, and VIII) are dismissed as moot.

             10.      Nothing herein prohibits or is intended to prohibit Hikma from maintaining any

      “Paragraph IV certification” pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV) or pursuant to 21




C.F.R. § 314.94(a)(12) with respect to the Asserted Patents.

       11.         Nothing herein restricts or is intended to restrict the U.S. Food and Drug

Administration from approving Abbreviated New Drug Application No. 215242 or Hikma’s

Generic Product.




                                                         The Honorable Evelyn Padin, U.S.D.J.




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We hereby consent to the form and entry of this Judgment:

Dated: December 8, 2022

 By:   s/ Charles M. Lizza                     By:     s/ James S. Richter
       Charles M. Lizza                                James S. Richter
       William C. Baton                                MIDLIGE RICHTER LLC
       Sarah A. Sullivan                               645 Martinsville Road
       SAUL EWING LLP                                  Basking Ridge, New Jersey 07920
       One Riverfront Plaza, Suite 1520                (908) 626-0622
       Newark, New Jersey 07102-5426                   jrichter@midlidge-richter.com
       (973) 286-6700
       clizza@saul.com                                 Charles B. Klein
       wbaton@saul.com                                 Jovial Wong
                                                       Sharon Lin
       Attorneys for Plaintiff                         WINSTON & STRAWN LLP
       Corcept Therapeutics, Inc.                      1901 L Street, NW
                                                       Washington, DC 20036

                                                       Attorneys for Defendant
                                                       Hikma Pharmaceuticals USA Inc.




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